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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS      FILED: 8/19/20
                                SHERMAN DIVISION          U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT COURT
                                                                      DAVID A. O'TOOLE, CLERK
 UNITED STATES OF AMERICA § SEALED
                                           §                     -
 v.       §       No.              4:20CR
                                           § Judge
 DAVID ALAN PETTIGREW §
 CHAD MICHAEL RIDER §
                                     INDICTMENT
THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                 Violation: 18 U.S.C. §§ 2252A(a)(l)
                                                 and (b)(1) (Transportation of Child
                                                 Pornography)

       On or about May 20, 2020, in the Eastern District of Texas, David Alan

Pettigrew, defendant, did knowingly transport any child pornography, as defined in Title

18, United States Code, Section 2256(8), using any means and facility of interstate and

foreign commerce, and in or affecting interstate and foreign commerce by any means,

including by computer. Specifically, the defendant, David Alan Petti rew, using an

electronic mail service and the Internet did transport the following isual depictions:

        FILE IDENTIFIER                                 DESCRIPTION
                                        This image depicts a nude, prepubescent female
            image. 1-1.jpeg             seated with her legs spread apart, exposing her
                                        genitals to the camera, which are the focus of
                                        the image.
                                        This image depicts a prepubescent female sitting
            image. 8-l.jp eg            with a towel around her upper body. The child s
                                        genitals are exposed to the camera, which are
                                        the focus of the image.
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       In violation of 18 U.S.C. §§ 2252A(a)(l) and (b)(1).

                                       Count Two

                                                 Violation: 18 U.S.C. §§ 2251(a) and (e)
                                                 (Sexual Exploitation of Children a/k/a
                                                 Production of C ild Pornogra hy;
                                                 Conspiracy and Attempt)


       Between on or about May 1, 2016, and the present, in the Eastern District of

Texas, David Alan Petti rew and Chad Michael Rider, defendants, did conspire and

attempt to employ, use, persuade, induce, entice, and coerce any minor to engage in any

sexually explicit conduct for the purpose of producing any visual depiction of such

conduct, knowing or having reason to know that such visual depiction was produced

using materials that had been mailed, shipped, and transported in and affecting interstate

and foreign commerce by any means, including by computer. Specifically, the

defendants, David Alan Pettigrew and Chad Michael Rider, did conspire and attempt

to employ, use, persuade, induce, entice, and coerce minor victims, known and unknown

to the Grand Jury, to engage in sexually explicit conduct for the purpose of producing a

visual depiction of such conduct, using digital devices including cameras and a Maxtor

external hard drive.


       In violation of 18 U.S.C. §§ 2251(a) and (e).




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          NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

        Upon conviction of the offense(s) alleged in this Indictment, the defendants,

David Alan Pettigrew and Chad Michael Rider, shall forfeit to the United States his

interest in the following property, including, but not limited to:

        1. Samsung Galaxy Note 9 cellular phone, bearing IMEI number
               358620098257036;
        2. Lenovo laptop computer, bearing serial number UB02564646;
        3. Maxtor external hard drive, bearing serial number L42CRG2G;
        4. ONN 64GB thumb drive, bearing serial number ONA1905009.

        This property is forfeitable pursuant to 18 U.S.C. § 2253(a) based upon the

property being:

        1. any visual depiction described in section . . . 2252 of this chapter, or any

               book, magazine, periodical, film, videotape, or other matter which contains


               any such visual depiction, which was produced, transported, mailed,

               shipped or received in violation of this chapter;

       2. any property, real or personal, constituting or traceable to gross profits or

               other proceeds obtained from such offense; or

        3. any property, real or personal, used or intended to be used to commit or to

               promote the commission of such offense.


       By virtue of the commission of the offense alleged in this Indictment, any and all

interest the defendant has in this property is vested in and forfeited to the United States

pursuant to 18 U.S.C. §§ 2253(a)(1), (a)(2), and (a)(3).




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                                         A TRUE BILL




                                         GRAND JURY FOREPERSON

STEPHEN J. COX
UNITED STATES ATTORNEY



                                         Date:
MARISA J. MILLER 1
Assistant United States Attorney




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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 UNITED STATES OF AMERICA § SEALED

 v.         §         No.                4:20CR
                                                § Judge
 DAVID ALAN PETTIGREW §
 CHAD MICHAEL RIDER §

                                    NOTICE OF PENALTY

                                            Count One

        Violation: 18 U.S.C. §§ 2252A(a)(l) and (b)(1)

        Penalty: Imprisonment for not less than five years and not more than
                         twenty years; but if the defendant has a prior conviction under
                         this chapter, section 1591, chapter 71, chapter 109A, chapter
                                117, or under section 920 of title 10 (article 120 of the
                                Uniform Code of Military Justice), or under the laws of any
                                State relating to aggravated sexual abuse, sexual abuse, or
                                abusive sexual conduct involving a minor or ward, or the
                                production, possession, receipt, mailing, sale, distribution,
                                shipment, or transportation of child pornography or sex
                                trafficking of children, such person shall be imprisoned for
                                not less than fifteen years and not more than forty years; a
                                fine of not more than $250,000; and a term of supervised
                                release of not less than five years to life.


        Special Assessment: $ 100.00

        JVTA Assessment: $ 5,000.00

                                            Count Two

        Violation: 18 U.S.C. §§ 2251(a) and (e)

        Penalty: Imprisonment for not less than 15 years and not more than 30
                         years; if the defendant has a prior conviction under this
                         chapter, section 1591, chapter 71, chapter 109A, chapter 117,
                         or under section 920 of title 10 (article 120 of the Uniform

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                             Code of Military Justice), or under the laws of any State
                             relating to aggravated sexual abuse, sexual abuse, or abusive
                             sexual conduct involving a minor or ward, or sex trafficking
                             of children, or the production, possession, receipt, mailing,
                             sale, distribution, shipment, or transportation of child
                             pornography or sex trafficking of children, such person shall
                             be imprisoned for not less than 25 years and not more than 50
                             years; if the defendant has two or more convictions under this
                             chapter, section 1591, chapter 71, chapter 109A, chapter 117,
                             or under section 920 of title 10 (article 120 of the Uniform
                             Code of Military Justice), or under the laws of any State
                             relating to the sexual exploitation of children, such person
                             shall be imprisoned for not less than 35 years and not more
                             than life; a fine of not more than $250,000; and a term of
                             supervised release of not less than five years to life.

        Special Assessment: $ 100.00

        JYTA Assessment: $ 5,000.00




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